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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                    4/19/21


  United States of America,

                 –v–
                                                                    20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                         ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       An arraignment on the S2 Superseding Indictment is scheduled to take place on April 23,

2021 at 2:30 p.m. The proceeding will take place in Courtroom 24B of the Daniel Patrick

Moynihan Courthouse, 500 Pearl Street, New York, NY.

       Given significant public interest, a video feed of the proceeding will be available for

viewing in the Jury Assembly Room and Courtroom 9C at the Daniel Patrick Moynihan

Courthouse. The use of any electronic devices during the proceeding in either the

Courtroom or the overflow rooms is strictly prohibited.

       Due to social distancing requirements, seating will be limited to approximately 100

members of the public. If capacity is reached, no additional persons will be admitted. Per the

S.D.N.Y. COVID-19 Courthouse Entry Program, anyone who appears at any S.D.N.Y.

courthouse must complete a questionnaire on the date of the proceeding prior to arriving at the

courthouse. All visitors must also have their temperature taken when they arrive at the

courthouse. Please see the attached instructions. Completing the questionnaire ahead of time

will save time and effort upon entry.

       Only persons who meet the entry requirements established by the questionnaire and

whose temperatures are below 100.4 degrees will be allowed to enter the courthouse. All visitors
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must wear either (i) a properly fitted disposable mask under a cloth mask, with the outer edges of

the inner mask pushed against the face, or (ii) a properly fitted FDA-authorized N95 or KN95

mask. Anyone who fails to comply with the COVID-19 protocols that have been adopted by the

Court will be required to leave the courthouse. There are no exceptions. For more information,

see https://www.nysd.uscourts.gov/covid-19-coronavirus.

       In order to ensure additional public access, the Court will also open a public

teleconference line so that members of the public may listen to the audio of the proceeding.

Members of the public may call into the public teleconference line by dialing 844-291-6362 and

entering access code 2921822. This phone line can accommodate approximately 4,000 callers

on a first come, first serve basis. Any photographing, recording, or rebroadcasting of federal

court proceedings is prohibited by law. Violation of these prohibitions may result in fines

or sanctions, including being held in contempt of court, removal of court issued media

credentials, restricted entry to future hearings, denial of entry to future hearings, or any

other sanctions deemed necessary by the Court.

       Pursuant to 18 U.S.C. § 3771(c)(1), the Government must “make their best efforts to see

that crime victims are notified of, and accorded, the rights” provided to them in that section.

This includes “[t]he right to reasonable, accurate, and timely notice of any public court

proceeding . . . involving the crime or of any release . . . of the accused.” Id. § 3771(a)(2). So

that appropriate logistical arrangements can be made, the Government shall inform the Court’s

Chambers by email by April 21, 2021 whether any alleged victims wish to attend the proceeding

and whether they will attend in person or by phone. The Court will ensure access.
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       In addition, defense counsel shall inform the Court’s Chambers by email by April 21,

2021, whether any of the Defendant’s family members wish to attend the proceeding and

whether they will attend in person or by phone. The Court will ensure access.

       SO ORDERED.

 Dated: April 19, 2021
        New York, New York
                                                ____________________________________
                                                          ALISON J. NATHAN
                                                        United States District Judge
